Case 24-20024 Doc 45-2 Filed 06/23/24 Entered 06/23/24 23:27:41 Desc ORDER
24-20024 Pagelof2

IN THE UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF TEXAS
MARSHAL DIVISION

IN RE: Case No.: 24-20024
Chapter: i1
Don's Barefoot Beach Marina, LLC
Debtor.’

1 The Debtors in these proceedings (including the last four digits of their respective taxpayer identification numbers}
are: Don's Barefoot Beach Marina, LLC, (0247), and Thornton Real Estate Investment Inc. (9321). The Debtors’
respective corporate headquarters are: 5244 FM 1520, Pittsburg, TX 75686; and 190 E Stacy Rd STE 3064391, Allen,
TX 75002,

8. Debtors shall promptly file a Master Mailing List (the “Matrix”) under the jointly

administered case number such that any notices to be given to creditors and other parties in
interest in either case shall be given to said parties in all cases.

9. if any pleadings, papers, or documents have been filed in any of the above
captioned cases other than the Lead Case prior to the entry of this Order, and those matters have
not yet been heard and decided, the party who filed the pleading, paper, or document shall (i)
refile the pleading, paper, or document in the Lead Case within 3 business days of the entry of
this Order, {ii) set the pleading, paper, or document for hearing before the judge assigned to the
Lead Case, and (iii) notice the hearing to all appropriate parties

10. That in the event that any of these cases have been assigned to separate judges,
all such cases shall be transferred to the judge with the lowest numbered case;

11. The Debtors are authorized and empowered to take all actions necessary to
implement the relief granted in this Order.

12. = The Clerk shall file a copy of this order in the Lead Case and each of the member

cases,

Case 24-20024 Doc 45-2 Filed 06/23/24 Entered 06/23/24 23:27:41 Desc ORDER
24-20024 Page 2of2

13. This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation of this Order.

14. The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

ORDER SUBMITTED BY:

/5f Robert DeMarco
DeMarcoeMitchell, PLLC

Robert T. DeMarco, Texas Bar No. 24014543
Email robert@demarcomitchell.com
Michael S. Mitchell, Texas Bar No. 00788065

Email mike@demarcomitchell.com
1255 W. 15" Street, 805

Plano, TX 75075
T 972-578-1400
F 972-346-6791

Proposed Counsel for Debtors and Debtors in Possession

